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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
        v.                                 )      Criminal Action No. 2:99cr137-MHT
                                           )                (WO)
CLARENCE CLAY                              )

               RECOMMENDATION OF THE MAGISTRATE JUDGE

                                  I.   INTRODUCTION

        Clarence Clay (“Clay”), proceeding pro se, seeks a writ of error coram nobis vacating

his 2003 federal convictions for conspiracy to distribute and possess with intent to distribute

cocaine hydrochloride, cocaine base, and marijuana, in violation of 21 U.S.C. §§ 841(a)(1)

and 846, and unlawful use of a communication facility (a telephone), in violation of 21

U.S.C. § 843(b). Clay completed the incarceration portion of his 56-month sentence in

October 2008, at which time he began a three-year term of supervised release. However, the

district court dissolved Clay’s supervised release on September 9, 2010. Because Clay has

completed service of his sentence, he is no longer “in custody” for his 2003 convictions, and

he was not “in custody” when he filed this petition for coram nobis relief on October 19,

2010.

        Clay contends he is entitled to coram nobis relief on the following grounds:

        1.     He is “actually innocent” of the conspiracy/controlled substance
               offense for which he was convicted, because the jury was unable
               to reach a unanimous agreement as to the drug amounts
               attributable to him.
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       2.     His conviction and sentence are void, because the trial court
              “directed a guilty verdict” as to the conspiracy/controlled
              substance charge when the jury was unable to reach a
              unanimous agreement as to the drug amounts attributable to him.

       3.     The trial court’s entry of a judgment of conviction as to the
              conspiracy/controlled substance offense represented a fraud
              being perpetrated on the court, by the court, because the jury
              was unable to reach a unanimous agreement in its verdict.

       4.     Counsel rendered ineffective assistance when he failed to argue
              to the court that Clay could not be convicted of the
              conspiracy/controlled substance offense in the absence of the
              jury’s unanimous agreement as to attributable drug amounts and
              when he failed to challenge the trial court’s infringement on the
              role of the jury by determining the amount of drugs attributable
              to Clay.

(Doc. No. 986 at pp. 8- 28.)

       For the reasons indicated below, Clay’s petition for a writ of error coram nobis should

be denied.

                                    II.    DISCUSSION

       The All Writs Act, 28 U.S.C. § 1651(a), gives federal courts authority to issue a writ

of error coram nobis. United States v. Mills, 221 F.3d 1201, 1203 (11 th Cir. 2000). “A writ

of error coram nobis is a remedy available to vacate a conviction when the petitioner has

served his sentence and is no longer in custody, as is required for post-conviction relief under

28 U.S.C. § 2255.” United States v. Peter, 310 F.3d 709, 712 (11th Cir. 2002).

       “The writ of error coram nobis is an extraordinary remedy of last resort available only

in compelling circumstances where necessary to achieve justice.” Mills, 221 F.3d at 1203.



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The bar for coram nobis is high and relief may issue only where: (1) “there is and was no

other available avenue of relief,” and (2) “the error involves a matter of fact of the most

fundamental character which has not been put in issue or passed upon and which renders the

proceeding itself irregular and invalid.” Alikhani v. United States, 200 F.3d 732, 734 (11 th

Cir. 2000) (internal quotation omitted). Furthermore, a district court may consider coram

nobis petitions only where the petitioner presents sound reasons for failing to seek relief

earlier. United States v. Morgan, 346 U.S. 502, 512 (1954). Essentially, the writ is issued

“to correct errors of fact unknown to the court at the time of the judgement, without fault of

the defendant, which, if known would probably have prevented the judgment.” Id. at 516.

       In Morgan, the Supreme Court suggested three prerequisites to the granting of a writ

of error coram nobis. First, the petitioner must have exercised diligence in bringing his

claim. 346 U.S. at 511 (“Such an attitude may reflect the rule that deliberate failure to use

a known remedy at the time of trial may be a bar to subsequent reliance on the defaulted

right.”). Second, the writ is only available when other remedies and forms of relief are

unavailable or inadequate. Id. at 512 (“[W]e think, no other remedy being then available and

sound reasons existing for failure to seek appropriate earlier relief, this motion in the nature

of the extraordinary writ of coram nobis must be heard by the federal trial court.”). Third

and finally, the writ is available only to correct errors “of the most fundamental character.”

Id.   The proceedings leading to a petitioner’s underlying criminal conviction are

presumptively correct, and the burden rests on the petitioner to show otherwise. Id.



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       Given these hurdles, the Supreme Court has indicated that “it is difficult to conceive

of a situation in a federal criminal case today where [a writ of error coram nobis] would be

necessary or appropriate.” Carlisle v. United States, 517 U.S. 416, 429 (1996); see also

Casias v. United States, 421 F.2d 1233, 1234 (10th Cir. 1970) (applying Morgan and quoting

the Supreme Court: “continuation of litigation after final judgment and exhaustion or waiver

of any statutory right to review should be allowed through this extraordinary remedy only

under circumstances compelling such action to achieve justice”).

       Clay fails to satisfy the applicable standards for coram nobis relief. First, it is clear

that there were other avenues of relief available for Clay to present the claims he presents in

his instant petition. Indeed, Clay raised each of his current claims in a prior proceeding. He

previously pursued his claims regarding the jury’s inability to reach a unanimous agreement

as to attributable drug amounts – and the trial court’s alleged infringement on the role of the

jury – on direct appeal, in a 28 U.S.C. § 2255 motion that he filed in September 2005, and

later in a self-styled motion for relief under Fed.R.Civ.P. 60 filed in November 2009. See

United States v. Clay, 376 F.3d 1296 (11th Cir. 2004); Clay v. United States, Civil Action No.

2:05cv854-MHT (Doc. Nos. 1 and 99). The merits of these claims were considered and

rejected by the Eleventh Circuit on direct appeal, and by this court in ruling on Clay’s § 2255

motion. See 376 F.3d 1296; Civil Action No. 2:05cv854-MHT (Doc. Nos. 57 and 84). In

ruling on Clay’s Rule 60 motion, this court found such claims to be, in substance, part of a

successive § 2255 motion filed without pre-certification from the appellate court. See Civil



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Action No. 2:05cv854-MHT (Doc. No. 104). Clay’s allegations of ineffective assistance of

counsel were presented in his § 2255 motion, where this court found them to be without

merit. See Civil Action No. 2:05cv854-MHT (Doc. Nos. 57 and 84). Clay’s claim of “fraud

on the court” was presented in his Rule 60 motion, where this court found that the claim,

although cloaked in the rubric of Fed.R.Civ.P. 60, was in substance part of a successive

§2255 motion filed without the proper pre-certification. See Civil Action No. 2:05cv854-

MHT (Doc. No. 104).

       As an extraordinary remedy, the writ of error coram nobis may not be used to

relitigate matters that have already been put in issue and determined. See Klein v. United

States, 880 F.2d 250, 254 n.1 (10th Cir. 1989) (“Coram nobis relief is not available to litigate

issues already litigated; it is reserved for claims which have yet to receive their first

disposition.”); Wills v. United States, 654 F.2d 23, 24 (8 th Cir. 1981) (coram nobis is

inappropriate if the petitioner merely repeats claims already presented and dismissed in a

§2255 motion); United States v. Esogbue, 357 F.3d 532, 535 (5 th Cir. 2004) (same); United

States v. Mandanici, 205 F.3d 519, 524 (2nd Cir. 2000) (coram nobis is not a substitute for

appeal); Sun v. United States, 151 Fed.Appx. 860, 862-63 (11 th Cir. 2005) (coram nobis is

not appropriate where same issues were advanced on direct appeal). Clay may not use the

remedy of coram nobis to relitigate issues that have already been litigated and resolved

against him.

       To the extent Clay’s presentation of his claims in the instant petition may differ in



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some slight way from the manner in which they were previously presented, this court finds

that any new arguments by Clay in support of such claims could clearly have been asserted

in the previous proceedings. Clay does not demonstrate that he could not have discovered

the bases of his claims in time to assert them either on direct appeal or in his § 2255 motion.

Thus, Clay also fails to establish valid reasons for failing to seek earlier relief on any new

bases for relief he may now assert. See Morgan, 346 U.S. at 512; Moody v. United States,

874 F.2d 1575, 1577-78 (11 th Cir. 1989).

       Finally, Clay has not shown that coram nobis relief is necessary in his to case to

correct an error “of the most fundamental character.” Morgan, 346 U.S. at 512. All of his

claims are predicated on his argument that, because the jury was unable to reach a unanimous

agreement as to the drug amounts attributable to him, his conspiracy/controlled substance

conviction is void. However, the courts have already considered this argument in Clay’s case

and have found it to be without merit. Thus, Clay’s petition for a writ of error coram nobis

should be denied.

                                   III.   CONCLUSION

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that the petition

for a writ of error coram nobis filed by Clay be denied, as the claims therein entitle him to

no relief.

       It is further

       ORDERED that the parties shall file any objections to this Recommendation on or



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before July 7, 2011. A party must specifically identify the findings in the Recommendation

to which objection is made; frivolous, conclusive, or general objections will not be

considered. Failure to file written objections to the Magistrate Judge’s proposed findings and

recommendations shall bar a party from a de novo determination by the District Court of

issues covered in the Recommendation and shall bar the party from attacking on appeal

factual findings accepted or adopted by the District Court except upon grounds of plain error

or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See Stein v.

Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of Prichard,

661 F.2d 1206 (11th Cir. 1981) (en banc).

       Done this 23 rd day of June, 2011.




                                         /s/Charles S. Coody
                                    CHARLES S. COODY
                                    UNITED STATES MAGISTRATE JUDGE




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